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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

UNITED STATES OF AMERICA No. 14-20232

Plaintiff, | HON. GERALD E. ROSEN
-VS-

FACTUAL ALLEGATIONS IN
SUPPORT OF JUDICIAL

MOHAMMAD HAMDAN REMOVAL

Defendant.

/

 

NOTICE IS HEREBY GIVEN TO MOHAMMAD HAMDAN (“the defendant”)
and to his attorney of record, ARTHUR JAY WEISS, Esq., that the United States of

America alleges the following facts in support of the Notice of Intent to Request Judicial

Removal:
1. The defendant is not a citizen or national of the United States.
2. The defendant is a native of Lebanon and a citizen of Lebanon.

3. On or about June 19, 2007, the defendant was admitted to the United States as
a lawful permanent resident.

4, On or about August 15, 2016, the defendant voluntarily executed a Form I-
407, Record of Abandonment of Lawful Permanent Resident Status, as part of a
negotiated plea resolution of this matter.

5. At the time of sentencing in the instant criminal proceeding, the defendant
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will be convicted in the United States District Court, Eastern District of Michigan,

of Count 1 of the First Superseding Information: False Statement to a Federal Agent

Involving International Terrorism, in violation of Title 18 United States Code,

Section 1001(a)(2).

6. The maximum term of imprisonment for a conviction of Count One, a

violation of Title 18 United States Code, Section 1001(a)(2), is eight (8) years.

7. The defendant is, and at sentencing will be, subject to removal from the

United States pursuant to Section 237(a)(1)(B) of the Immigration and Nationality

Act of 1952 (“INA”), as amended, 8 United States Code Section 1227(a)(1)(B), as

an alien who is present in the United States in violation of this chapter or any other

law of the United States.

WHEREFORE, pursuant to Section 238(c) of the INA, 8 United States Code Section
1228(c), the United States of America requests that the Court, at the time of sentencing,
order that the defendant be removed from the United States to Lebanon.

Dated: SEZ MA C

BARBARA L. McQUADE
UNITED STATES ATTORNEY

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